             Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 1 of 7




                             IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS, AUSTIN DIVISIO7
                                                                                         31       4?qii:'i
BRETT HORVATH,                                   §                                                      "I
                                                                              ?stE,;':        tTCOLJRT
                                                 §
                                                                                                    JrrExf
                 Plaintiff,                     §
                                                §                                                     1-   fK
 V.
                                                §
                                                §           CIVIL ACTION NO. 1:17-cv-00256
CITY OF LEANDER, TEXAS, and                     §
BILL GARDNER, in his official and               §
individual capacities,                          §
                                                §
                 Defendants.                    §


                             PLAINTIFF'S FIRST AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Comes now Plaintiff, Brett Horvath, and complains of Defendant City of Leander, Texas,

and Bill Gardner, in his official and individual capacities. In support of his complaint, Plaintiff

states the following:

                                    NATURE OF THE ACTION

        1.       This case arises out of the termination of Plaintiff Horvath's employment with the

Leander Fire Department for reasons that were discriminatory, retaliatory, and in violation of his

First Amendment rights to the free exercise of his religion. Plaintiff's federal causes of action

arise under Title VII of the Civil Rights Act of 1964 and 42 U.S.C.   §   1983. He seeks back pay,

compensatory damages, punitive damages, the prospective injunctive relief of reinstatement to

his former position or front pay, costs of court, pre- and post-judgment interest, and an award of

attorney fees.

                                   JURISDICTION AND VENUE

       2.        This Court has jurisdiction over Plaintiff's claims pursuant to 28 U.S.C.    §    1331

and 28 U.S.C.    §   1343.



                                                    1
              Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 2 of 7




        3.      The events out of which this suit arises occurred in Williamson County, Texas,

and venue is proper in this Court pursuant to 28 U.S.C.   §   1391.

                                           PARTIES

       4.       Plaintiff Brett Horvath is an individual Texas resident who was employed by

Defendant City of Leander.

        5.      Defendant City of Leander is a municipal corporation operating under its home

rule charter within its geographical boundaries in Williamson County, Texas. Defendant Bill

Gardner is the Fire Chief of the Leander Fire Department and held this office at the time of the

events complained of in this suit. Defendant Gardner is sued in his official and individual

capacities.

                                            FACTS

       6.       Before being fired in March 2016, Plaintiff Horvath was an employee of

Defendant City for almost four years. Horvath was hired as a fire fighter and promoted to the

rank of Driver Pumper Operator. Horvath received several service commendations and was a

member of the Williamson County Technical Rescue Team.

       7.       Prior to February 2016, the Defendants had accommodated Horvath's sincerely

held Christian beliefs by exempting him from obtaining prophylactic vaccinations required of

other fire fighters.     In February 2016, Defendant            Gardner canceled that reasonable

accommodation, telling Horvath that he would be required to take a Tdap vaccine or to propose a

substitute accommodation in order to retain his position. Horvath began the interactive process

of trying to reach a substitute reasonable accommodation to replace the one that Defendant

Gardner canceled.




                                                2
             Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 3 of 7




       8.        Defendant Gardner responded, suggesting a set of infection control procedures.

Horvath agreed that most of the suggested procedures were reasonable, but stated that he did not

believe that Defendant Gardner's suggestion that Horvath wear a surgical mask during the

entirety of every 24-hour shift was reasonable or supported by any medical authority. As such,

Horvath proposed to use Defendant Gardner's suggested procedures, with the only modification

being that Horvath would wear a surgical mask during specified situations where infection risk

was increased.

       9.        At that point, Defendant Gardner refused to discuss reasonable accommodations

for Horvath's religious beliefs further, stating that the issue was "not negotiable." Nevertheless,

Horvath attempted to continue the interactive process in good faith, sharing the medical

authorities that he had consulted and inquiring whether any medical authorities justified the

constant use of a surgical mask that Defendant Gardner was demanding. Horvath made clear

that he was willing to reconsider his position on the surgical mask issue based on medical

science.

       10.       Instead of continuing the dialogue toward reaching an accommodation for

Horvath's religious beliefs while addressing the Fire Department's infection-control concerns, on

March 29, 2016, Defendant Gardner fired Horvath, explicitly stating that the termination was

punishment for Horvath' s efforts to continue the interactive process to reach a substitute

reasonable accommodation to replace the accommodation that Defendant Gardner had canceled.

       11.       Horvath could have performed the essential functions of his position with

reasonable accommodation for his sincerely held religious beliefs.




                                                 3
             Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 4 of 7




             FIRST CAUSE OF ACTION: CHAPTER 21, TEXAS LABOR CODE

       12.      Defendants' cancellation of the reasonable workplace accommodation for

Plaintiff's sincerely held religious belief that it previously provided, Defendants' failure and

refusal to continue meaningful engagement in an interactive process to discuss a substitute

reasonable accommodation, and Defendants' termination of Horvath' s employment all violated

Chapter 21 of the Texas Labor Code. Defendants terminated Horvath's employment because of

Plaintiff's religious beliefs and/or in retaliation for requesting a substitute reasonable workplace

accommodation for his religious beliefs. Horvath has exhausted his administrative remedies on

this claim, having received the notice of right to sue from the Texas Workforce Commission,

dated January 20, 2017.

                          SECOND CAUSE OF ACTION: TITLE VII

       13.      Defendants' cancellation of the reasonable workplace accommodation for

Plaintiff's sincerely held religious belief that it previously provided, Defendants' failure and

refusal to continue meaningful engagement in an interactive process to discuss a substitute

reasonable accommodation, and Defendants' termination of Horvath's employment all violated

Title VII of the Civil Rights Act of 1964. Defendants terminated Horvath's employment because

of Plaintiff's religious beliefs and/or in retaliation for requesting a substitute reasonable

workplace accommodation for his religious beliefs. Horvath has exhausted his administrative

remedies on this claim, having received the notice of right to sue from the Equal Employment

Opportunity Commission, dated December 6, 2016.

      THIRD CAUSE OF ACTION: FEDERAL CONSTITUTION / SECTION 1983

       14.     Defendants' cancellation of the reasonable workplace accommodation for

Plaintiff's sincerely held religious belief that it previously provided, Defendants' failure and




                                                 4
                Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 5 of 7




refusal to continue meaningful engagement in an interactive process to discuss a substitute

reasonable accommodation, and Defendants' termination of Horvath's employment all violated

Horvath's rights to the free exercise of his religion protected by the First and Fourteenth

Amendments to the United States Constitution, cognizable pursuant to 42 U.S.C.    §   1983.

                                             JURY TRIAL

          15.     Plaintiff requests and demands a trial by jury.

                                       PRAYER FOR RELIEF

          Wherefore, premises considered, Plaintiff respectfully requests that Defendants be cited

to appear and answer herein, and upon hearing, that the Court award Plaintiff the following

relief:

          A.       Declare that by cancelling the reasonable workplace accommodation for

Plaintiff's religious beliefs that it previously provided, by failing and refusing to continue

meaningful engagement in an interactive process to establish a substitute reasonable

accommodation, and by terminating Horvath's employment, Defendants violated Chapter 21 of

the Texas Labor Code, Title VII of the Civil Rights Act of 1964, and the First and Fourteenth

Amendments to the United States Constitution.

          B.       Enter a permanent injunction requiring Defendants to reinstate Plaintiff to his

former position with all benefits and emoluments of his position that he would have received if

Defendants' discrimination and/or retaliation had not occurred and prohibiting any future acts of

retaliation, discrimination, or harassment, and also making Plaintiff whole, as if Defendants'

illegal acts of discrimination and/or retaliation had not occurred.

          C.       Order Defendants to pay Plaintiff back pay as a result of Defendants'

discrimination and/or retaliation.




                                                     5
             Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 6 of 7




       D.      Order Defendants to pay Plaintiff compensatory damages for future pecuniary

losses, emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,

and/or other nonpecuniary losses as a result of Defendants' discrimination and/or retaliation.

       E.      Order Defendants to pay Plaintiff punitive damages in an amount sufficient to

punish the Defendants for their conduct and to deter others from similar actions.

       F.       Order Defendants to pay Plaintiffs reasonable attorney fees and costs;

        G.      Order Defendants to pay pre-judgment interest on all amounts for which pre-

judgment interest is legally allowable, at the highest lawful rate;

        H.      Order Defendants to pay post-judgment interest at the highest lawful rate for all

amounts, including attorney fees, awarded against Defendants; and

        I.      Order such other relief, whether legal or equitable, to which Plaintiff is entitled.



                                                       Respectfully submitted,

                                                       DEATS DURST & OWEN, PLLC




                                                       Matt Bachop
                                                       TBN: 24055127
                                                       mbachop@ddollaw.com
                                                       707 w. 34th St.
                                                       Austin, Texas 78705
                                                       (512) 474-6200
                                                       FAX (512) 474-7896

                                                       Attorney for Plaintiff




                                                   6
           Case 1:17-cv-00256-RP Document 4 Filed 03/31/17 Page 7 of 7




                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has been served



                                            20i_
on counsel for Defendant City of Leander, Ms. Joanna Lippman Salinas, FLETCHER, FARLEY,
                                         6th
SHIPMAN & SALINAS, L.L.P., 1717 W.           Street, Suite 300, Austin, Texas 78701, Fax (512) 476-
5771, by e-mail on this 31st day of March,



                                                     Matt Bachop
